Case 1:20-cr-00219-SAG Document 5 Filed 08/12/20 Page 1 of 14
U.S. Department of Justice

United States Attorney
District of Maryland
Southern Division

 

 

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cjr:7- 14-2020
July 15, 2020

Via E-Mail and Hand Delivery
C. Justin Brown, Esq.
brown@cjbrownlaw.com

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Brown Law on
' 1N. Charles Street, Suite 1301 t ~— BEACH
Baltimore, Maryland 21201 AUG 12 2029
Re: Plea Agreement in the Case of wv a TL

United States v. Kirk Gross a/k/a White Boy DEPUTY

Criminal No. N \\

Dear Mr. Brown:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Kirk Gross a/k/a White Boy (hereinafter the
“defendant”), by the United States Attorney’s Office for the District of Maryland (“this Office”).
If the defendant accepts this offer, please have the defendant execute it in the spaces provided
below. If this offer has not been accepted by July 31, 2020, it will be deemed withdrawn. The
terms of the Agreement are as follows:

Offenses of Conviction

1. The defendant agrees to plead guilty to Counts One, Two, and Three of the
Information. Count One charges the defendant with conspiracy to distribute and possess with
intent to distribute fentanyl, heroin, and cocaine, in violation of 21 U.S.C. § 846. Count Two
charges the defendant with possession with intent to distribute fentanyl, heroin, and cocaine, in
violation of 21 U.S.C. § 841(a)(1). Count Three charges the defendant with possession of firearm
and ammunition by a prohibited person, in violation of 18 U.S.C. § 922(g). The defendant admits
that the defendant is, in fact, guilty of the offenses and will so advise the Court.

Elements of the Offenses

2. The elements of each offense to which the defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document 5 Filed 08/12/20 Page 2 of 14

Count One

In or about July 2018, and continuing through in or about April 2019, in the
District of Maryland, the defendant knowingly, intentionally, and willfully
agreed with one or more persons to distribute and possess with intent to
distribute 400 grams or more of fentanyl, 1 kilogram or more of heroin, and 500
grams or more cocaine; and

. The defendant knowingly and voluntarily entered into that agreement, not by

accident or mistake.

Count Two

. The substances were in fact fentanyl, heroin, and cocaine;

. Onor about April 5, 2019, in the District of Maryland, the defendant knowingly

and intentionally possessed 400 grams or more of fentanyl, 1 kilogram or more
of heroin, and 500 grams or more cocaine; and

The defendant possessed fentanyl, heroin, and cocaine with the intent to
distribute them. °

Count Three

The defendant was previously convicted of a crime punishable by imprisonment
for a term exceeding one year;

. The defendant knew that he was prohibited from possessing a firearm and

ammunition as the result of a previous felony conviction;

On or about April 5, 2019, in the District of Maryland, the defendant knowingly
possessed the firearm and ammunition described in Count Three of the
Information after a felony conviction; and

. The defendant’s possession of the firearms and ammunition described in Count

Three of the Information was in and affecting interstate commerce.

United States v. Kirk Gross a/k/a White Boy

Criminal No.
Case 1:20-cr-00219-SAG Document 5 Filed 08/12/20 Page 3 of 14

 

 

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offenses to which the defendant
is pleading guilty are as follows:
Maximum Maxi Special
Count Statute Term of Supervised Release um peeia
Fine Assessment
Imprisonment
Life minimum 4 years;
1 21 U.S.C. § 846 | (minimum of . years; $10,000,000 $100
maximum 5 years
10 years)
Life _
2 21 USC. § | Gninimum of | ™™MUM 4 years: | g19 990,000 $100
841(a)(1) maximum 5 years
10 years)
18 U.S.C. §
3 922(g) 10 years 3 years $250,000 $100
a. Prison: Ifthe Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which that term of imprisonment will be served
by the defendant.

b. Supervised Release: If the Court orders a term of supervised release, and
the defendant violates the conditions of supervised release, the Court may order the defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The defendant may be required to
pay interest if the defendant does not pay the fine when it is due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: Ifthe Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to

United States v. Kirk Gross a/k/a White Boy
Criminal No.

 
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 4 of 14

collect on the total amount of the debt as provided by law. Until the debt is paid, the defendant
agrees to disclose all assets in which the defendant has any interest or over which the defendant
exercises direct or indirect control. Until the money judgment is satisfied, the defendant authorizes
this Office to obtain a credit report in order to evaluate the defendant’s ability to pay, and to request
and review the defendant’s federal and state income tax returns. The defendant agrees to complete
and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax return
information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The defendant understands that by entering into this Agreement, the defendant
surrenders certain rights as outlined below:

a If the defendant had pled not guilty and persisted in that plea, the defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the defendant, this Office, and the Court
all agreed.

b. If the defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the defendant could be found guilty of any count. The
jury would be instructed that the defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

C. If the defendant went to trial, the Government would have the burden of
proving the defendant guilty beyond a reasonable doubt. The defendant would have the right to
confront and cross-examine the Government’s witnesses. The defendant would not have to present
any defense witnesses or evidence whatsoever. If the defendant wanted to call witnesses in
defense, however, the defendant would have the subpoena power of the Court to compel the
‘witnesses to attend.

d. The defendant would have the right to testify in the defendant’s own defense
if the defendant so chose, and the defendant would have the right to refuse to testify. If the
defendant chose not to testify, the Court could instruct the jury that they could not draw any adverse
inference from the defendant’s decision not to testify.

e. If the defendant were found guilty after a trial, the defendant would have
the right to appeal the verdict and the Court’s pre-trial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 5 of 14

f. By pleading guilty, the defendant will be giving up all of these rights, except
the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the defendant understands that the defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the defendant makes during such a hearing would not be admissible
against the defendant during a trial except in a criminal proceeding for perjury or faise statement.

g. Hf the Court accepts the defendant’s plea of guilty, the defendant will be
giving up the right to file and have the Court rule on pre-trial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
defendant guilty.

Advisory Sentencing Guidelines Apply

5. The defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

7. This Office and the defendant further agree to the following applicable sentencing
guideline factors:

t a. Pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §
2D1.1(c)(4), the base offense level for Count One is a level 32 to account for 1.4 kilograms of
heroin mixed with fentanyl and 1.1 kilograms of cocaine. There is a two-level increase in the
defendant’s base offense level for Count One, because of the defendant’s possession of firearms.
See U.S.S.G. § 2D1.1(b)(1). Therefore, the adjusted base offense level for Count One is a level
34,

b. Pursuant to U.S.8.G. § 2D1.1(c)(4), the base offense level for Count Two
is a level 32 to account for 1.4 kilograms of heroin mixed with fentanyl and 1.1 kilograms of
cocaine.

c. Pursuant to U.S.S.G. § 2K2.1(a)(4), the base offense level for Count
Three is a level 20. There is a two-level increase, because the offense involved four firearms. See
ULS.S.G. § 2K2.1(b)(1)(A). So, the adjusted offense level for Count Three is a Jevel 22.

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 6 of 14

d. Pursuant to U.S.S.G. § 3D1.2(a), Counts One, Two, and Three are grouped
together in a single Group. As a result, the offense level applicable to the Group is a level 34.
See U.S.S.G. § 3D1.3(a).

Thus, the defendant’s adjusted offense level is a level 34.

e. This Office does not oppose a 2-level reduction in the defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the defendant’s timely notification of the defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offenses; (iii) gives conflicting statements about the defendant’s involvement
in the offenses; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

Accordingly, the defendant’s final offense level is a level 31.

8. There is no agreement as to the defendant’s criminal history and the defendant
understands that the defendant’s criminal history could alter the defendant’s offense level.
Specifically, the defendant understands that the defendant’s criminal history could alter the final
offense level if the defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the defendant derived a substantial portion of the
defendant’s income.

9. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures, or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

10. At the time of sentencing, this Office will be free to recommend any sentence that
is reasonable under the applicable factors set forth in]8 U.S.C. § 3553(a).

11. Atthe time of sentencing, this Office and the defendant reserve the right to advocate
for a reasonable period of supervised release and/or fine considering any appropriate factors under
18 U.S.C. § 3553(a).

12. This Office and the defendant also reserve the right to bring to the Court’s attention
all information with respect to the defendant’s background, character, and conduct that this Office

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document 5 Filed 08/12/20 Page 7 of 14

or the defendant deems relevant to sentencing, including the conduct that is the subject of any
counts of the Superseding Information.

Public Benefits in Drug Cases

13. The defendant understands and acknowledges that under 21 U.S.C. §§ 862 and
862a, a person who has been convicted of a federal offense involving the distribution or possession
of controlled substances may be denied certain federal and state benefits such as loans, grants, or
food stamps.

Waiver of Appeal

14. In exchange for the concessions made by this Office and the defendant in the
Agreement, this Office and the defendant waive their rights to appeal as follows:

a. The defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the defendant’s
conviction on any ground whatsoever. This includes a waiver of all right to
appeal the defendant’s conviction on the ground that the statutes to which
the defendant is pleading guilty are unconstitutional, to the extent such a
challenge can be legally waived, or on the ground that the admitted conduct
does not fall within the scope of the statutes to the extent that such challenge
can be legally waived.

b. The defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed
(including any term of imprisonment, fine, term of supervised release, or
order of restitution) for any reason (including the establishment of the
advisory sentencing guidelines range, the determination of the Defendant’s
criminal history, the weighing of the sentencing factors, and any
constitutional challenges to the calculation and imposition of any term of
imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

1. The defendant reserves the right to appeal any term of imprisonment
to the extent it exceeds any sentence above the high end of the
advisory guidelines range; and

ii. This Office reserves the right to appeal any term of imprisonment to
the extent that it is below any sentence below the low end of the
advisory guidelines range.

C. The defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 8 of 14

15.

matter and agrees not to file any request for documents from this Office or
any investigating agency.

Forfeiture

The defendant agrees to forfeit to the United States all of the defendant’s right, title,
and interest in the following property that constitute proceeds directly traceable to proceeds of the
offenses to which the defendant has agreed to plead guilty or personal property involved in an
offense to which the defendant has agreed to plead guilty:

a.

a SCCY Industries CPX-2 semi-automatic 9mm pistol bearing serial
number 632077 seized from a black bag in the hallway closet of the
defendant’s Owings Mills residence on or about April 5, 2019;

a SCCY Industries CPX-2 semi-automatic 9mm pistol bearing serial
number 534817 seized from a shoe box in the master bedroom closet of the
defendant’s Pikesville residence on or about April 5, 2019;

a Taurus PTU Millennium G2 semi-automatic 9mm pistol bearing serial
number TK W08741 seized from a black bag in the hallway closet of the
defendant’s Owings Mills residence on or about April 5, 2019;

a Taurus PT140 Millennium G2 semi-automatic 9mm pistol bearing serial
number SKS89240 seized from a shoe box in the master bedroom closet of
the defendant’s Pikesville residence on or about April 5, 2019;

Approximately one (1} magazine of .40 S&W seized from a black bag in
the hallway closet of the defendant’s Owings Mills residence on or about
April 5, 2019;

Approximately one (1) magazine of 9mm Luger seized from a shoe box in
the master bedroom closet of the defendant’s Pikesville residence on or
about April 5, 2019;

Approximately eight (8) cartridges of .40 S&W seized from a shoe box in
the master bedroom closet of the defendant’s Pikesville residence on or
about April 5, 2019;

Approximately twelve (12) cartridges of 9mm Luger seized from a shoe box
in the master bedroom closet of the defendant’s Pikesville residence on or
about April 5, 2019;

United States v. Kirk Gross a/k/a White Boy

Criminal No.
Case 1:20-cr-00219-SAG Document 5 Filed 08/12/20 Page 9 of 14

i. Approximately five (5) magazines of 9mm Luger seized from a black bag
in the hallway closet of the defendant’s Owings Mills residence on or about
April 5, 2019;

j. $8,200.00 seized from the defendant’s socks on his person on or about April
5, 2019;
k. $1,806.00 seized from the defendant’s pockets on his person on or about

April 5, 2019;

l. $192,510.00 seized from a clothing hamper of the defendant’s Pikesville
residence on or about April 5, 2019;

m. $39,600.00 seized from a black bag inside the master bedroom closet of the
defendant’s Pikesville residence on or about April 5, 2019;

n. $31,005.00 seized from a shoebox in the master bedroom closet of the
defendant’s Pikesville residence on or about April 5, 2019;

oO. $59,540.00 seized from a black backpack in the trunk of the defendant’s
vehicle on or about April 5, 2019;

p. $523.00 seized from a bag under the front driver’s side seat of the
defendant’s vehicle on or about April 5, 2019; and

q- $4,063.00 seized from the center console of the defendant’s vehicle on or
about April 5, 2019.

16. The defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

17. The defendant agrees to assist fully in the forfeiture of the above property. The
defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

United States v. Kirk Gross afk/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 10 of 14

18. The defendant waives all challenges to any forfeiture carried out in accordance with
this Agreement on any grounds, including any and all constitutional, legal, equitable, statutory, or
administrative grounds brought by any means, including through direct appeal, habeas corpus
petition, or civil complaint. The defendant will not challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Agreement, and will not
assist any third party with any challenge or review or any petition for remission of forfeiture.

The Defendant’s Conduct Prior to Sentencing and Breach

19. Between now and the date of the sentencing, the defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the pre-sentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

20. ‘Hf the defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement;
and (iii) in any criminal or civil proceeding, this Office will be free to use against the defendant
all statements made by the defendant and any of the information or materials provided by the
defendant, including statements, information, and materials provided pursuant to this Agreement,
and statements made during proceedings before the Court pursuant to Federal Rule of Criminal
Procedure Rule 11. A determination that this Office is released from its obligations under this
Agreement will not permit the defendant to withdraw the defendant’s guilty plea. The defendant
acknowledges that the defendant may not withdraw the defendant’s guilty plea if the Court finds
that the defendant breached this Agreement.

Court Not a Party

21. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. Neither the prosecutor, defense
counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the defendant will receive. The defendant agrees that no one has
made such a binding prediction or promise.

Entire Agreement

22. ‘This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior

United States v. Kirk Gross a/k/a White Boy
Criminal No.

10
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 11 of 14

understandings, promises, or conditions between this Office and the defendant. There are no other
agreements, promises, undertakings, or understandings between the defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the defendant fully accepts each and every term and condition of this Agreement, please
have the defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

Samika N. Boyd

Christopher J. Romano
Assistant United States Attorneys

 

Ihave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. Iam completely satisfied with the representation of my attorney.

The defendant

 

I am the defendant’s counsel. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement, with the defendant. The defendant advises me that the defendant
understands and accepts its terms. To my knowledge, the d ant’s decision to enter into this
Agreement is ‘ay informed and voluntary one.

  
  

—_—

ZL

C. Tustif Brown, Esq.
The géfendant’s counsel

 

United States v. Kirk Gross a/kia White Boy
Criminal No.

11
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 12 of 14

Attachment A: Statement of Facts

The undersigned parties stipulate and agree that, if this case had proceeded to trial,
this Office would have proven the following facts beyond a reasonable doubt. The
undersigned parties also stipulate and agree that the following facts do not encompass all
of the evidence that would have been presented had this matter proceeded to trial.

In July 2018, the United States Immigration and Customs Enforcement’s Homeland
Security Investigations began an investigation targeting the defendant Kirk Gross a/k/a
White Boy (“defendant”), who was trafficking in fentanyl, heroin, and cocaine in
Baltimore. Beginning in or about July 2018, and continuing through in or about April
2019, the defendant knowingly conspired with other persons to distribute and possess with
the intent to distribute kilogram quantities of heroin, fentanyl, and cocaine.

During the investigation, investigators, through a cooperating source, made
controlled purchases of narcotics from the defendant on several occasions. For instance,
on August 13, 2018, the cooperating source made arrangements via phone with the
defendant to purchase a quantity of narcotics from him. On the same day, the cooperating
source met with the defendant, and the defendant sold a quantity of heroin mixed with
fentanyl to the cooperating source.

During the investigation, investigators also obtained state-court authorization to
intercept communications occurring over the defendant’s cellphones. The defendant
discussed the quality of the narcotics that he supplied to others during intercepted calls
between he and his co-conspirators. For instance, on November 7, 2018, the defendant and
a co-conspirator discussed others’ feedback regarding the potency of narcotics samples that
the defendant provided to the co-conspirator. The co-conspirator relayed others’ feedback
of a seven on a rating scale of one through ten, and the defendant expressed his expectation
of those samples being at least a nine on that rating scale. The defendant asked, “It’s way
more than seven, I thought.” The co-conspirator responded, “He said ... barely an eight.”
Later in the discussion, the defendant said, “This is driving me crazy ‘cause I’m at eight to
anine. A nine to a seven and half is a big difference.”

The defendant also discussed, planned, or agreed to engage in narcotics transactions
during intercepted calls between he and his co-conspirators. For instance, on November 9,
2018, the defendant and a co-conspirator discussed the narcotics that the defendant
previously supplied to the co-conspirator. The co-conspirator asked, “You gotta hold that
one for me.” The defendant asked, “Which one?” The conspirator responded, “The one
you gave me!” The co-conspirator asked later in the discussion, “The one you gave me
yesterday was the powdery shit, right?” The defendant replied, “You said that was a cight.”
The co-conspirator then said, “Yeah. Yeah, that was cool, that’s good.” The defendant
clarified, “You're talking about what I just gave you, the hard and crunchy” to which the

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 13 of 14

co-conspirator confirmed, “Yes, yes.” The defendant agreed to supply the co-conspirator
with the requested narcotics: “I got you.”

Additionally, on December 3, 2018, the defendant agreed to meet with a co-
conspirator for the purpose of replenishing that the co-conspirator’s narcotics supply and
the co-conspirator indicated that he would pay for that supply at the time of the agreed-
upon narcotics transaction. The co-conspirator asked, “What’s going on, bro?” to which
the defendant replied, “What’s up with you, bro? Chillin?” The co-conspirator then asked,
“Are you around?” The defendant replied, “Yeah, I’m around. Where you at?” The co-
conspirator said, “Oh, I’m about to hop off the highway. I’m straight pay it.”

On April 5, 2019, investigators arrested the defendant. During a search incident to
arrest, they found and recovered $8,200.00 from the defendant’s socks on his person and
$1,806.00 from the defendant’s pockets on his person.

On the same day, investigators executed a search and seizure warrant at two of the
defendant’s residences—the defendant’s Owings Mills residence and the defendant’s
Pikesville residence. From the defendant’s Pikesville residence, they seized a SCCY

Industries CPX-2 semi-automatic 9mm pistol bearing serial number 534817, a Taurus
PT140 Millennium G2 semi-automatic 9mm pistol bearing serial number SKS89240, one
magazine of 9mm Luger, eight cartridges of .40 S& W, and twelve cartridges of 9mm Luger
seized from a shoe box in the master bedroom closet. Investigators also seized $192,510.00
in a clothing hamper; $39,600.00 in a black bag inside the master bedroom closet; and
$31,005.00, along with various drug ledgers, in a shoebox from the master bedroom closet.

From the defendant’s Owings Mills residence, investigators located and recovered
1.4 kilograms of heroin mixed with fentanyl and 1.1 kilograms of cocaine from the rear
bedroom closet after the defendant told investigators that he had some drugs in that
particular location. Investigators also seized a SCCY Industries CPX-2 semi-automatic
Smm pistol bearing serial number 632077, a Taurus PTIII Millennium G2 semi-automatic
9mm pistol bearing serial number TK W08741, one magazine of .40 S&W seized, and five
magazines of 9mm Luger in a black bag in the hallway closet. Investigators also found
and recovered digital scales, a sifter, and a heat bag sealer from the kitchen.

During the execution of the search warrant for the defendant’s Owings Mills
residence, a trained and certified narcotics detection dog rendered a positive alert on the
rear of the defendant’s vehicle. Investigators searched the defendant’s vehicle, and among
the items that they seized were a black backpack containing $59,540 from the trunk,
multiple cellphones from the driver side interior, $523.00 from a bag under the front
driver’s side seat, and $4,063.00 from the center console.

United States v. Kirk Gross a/k/a White Boy
Criminal No.
Case 1:20-cr-00219-SAG Document5 Filed 08/12/20 Page 14 of 14

The defendant was previously convicted of at least one crime punishable by
imprisonment for a term exceeding one year and knew that he was prohibited from
possessing a firearm or ammunition as the result of a previous felony conviction. As a
result of his previous felony conviction, the defendant lost his civil rights to possess a

firearm and ammunition. Those civil rights have not been restored.

The seized pistols and ammunition were manufactured outside of Maryland, and the

seized pistols are firearms within the definition under 18 U.S.C. § 921(a)(3).

July 15, 2020

 

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United States v. Kirk Gross a/k/a White Boy
Criminal No.

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